
DAVIS, Judge.
Robert F. Summerall challenges his designation as a sexual predator under the Florida Sexual Predators Act (“the Act”), section 775.21, Florida Statutes (2003). He argues that the Act is unconstitutional as a violation of procedural due process. We affirm. See Milks v. State, 848 So.2d 1167 (Fla. 2d DCA), review granted, 859 So.2d 514 (Fla.2003). In so doing, we certify conflict with the Third District’s opinion in Espindola v. State, 855 So.2d 1281 (Fla. 3d DCA 2003).
Affirmed; conflict certified.
NORTHCUTT and VILLANTI, JJ., concur.
